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UNITED STATES [)ISTRICT COURT
CENTRAL DISTRICT OF FLOR[DA
JACKSONVILLE DIVISION

 

Stephen Knuth,
Casc No.: 31\3"¢*/"“57"5`3;|' low
Plaintil"f, _.
sa
Wells Fargo Bank._ N.A. .“; Tl
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Defendant. l _: :".E i-i
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JURY DEMAND
l. Plaintiff, Stephen Knuth (hereinafter “Plaintil`l”’), alleges violations of the
'I`elephone Consurner Protection Act. 47 U.S.C §22?, el .s'eq. (“TCPA”) against Defendant,
Wells Fargo Bank, N.A., (hercinafter “Wells Fargo”) and states the following in support
thereol`:
JUR|SDlCTI()N AND VENUE
2. This Court has jurisdiction under 28 U.S.C. §1331. Supp|emental jurisdiction

exists for the state law claim pursuant to 28 U.S.C. §1367.

3. Venue in this District is proper because Plaintiff resides in .laeksonville, Florida

here and Defendant placed telephone calls into this District.

PAR'I`IES
4. Plaintiff is a natural person, and citizen ot` the State of Florida, residing in
.Iacksonville` Florida.
5. Plaintifl" is the regular user ofthe cellular telephone number at issue. (954) 290-

6537` and was the “called party" and recipient ot` Det`endant`s hereinafter described calls. Sce

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Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7th Cir. 2012), denied (l\/Iay 25,
2012); See also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

6. Defendant is a Corporation with its principal place of business located at 420
Montgomery Street. San Francisco, CA 94104.

7. Plaintiff is also registered with the Florida Department of State Division of
Corporations as a Fictitious Name of Patent Law Services lnternational, 5290 Big Island Dr.,
Apt. #1406 Jacksonville, FL 32246.

FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

8. Defendant attempted to collect an alleged debt arising from transactions
primarily incurred for personal, family or household purposes from Plaintiff. Speciflcally,
Defendant attempted to collect an alleged debt from Plaintiff concerning a personal loan.

9. At all times relevant to this action, Plaintiff received 4 calls or text messages to
his cellular telephone from Defendant in an effort to collect the alleged debt at issue according

to the following schedule:

 

 

 

 

 

Number Date Time Notes
N/A 1.2.2015 1:57PM Text message sent.
(515) 218-2325 5.10.2015 N/A Voice message left.
(515) 557~6558 10.29.2015 ll:26Al\/I Left message from
Wells Fargo retail
Services after
delivery of furniture.
(515) 218-2325 3.19.2016 1:24PM Call regarding FCRA
disputes No consent
Was given after verbal
revocation of consent
on October 3, 2014.

 

 

 

 

 

 

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10. Upon answering many of these calls, Plaintiff was greeted either by an
automated machine-operated voice message or a noticeable period of “dead air” while the
caller’s telephone system attempted to connect to a live telephone employee.

ll. Defendant’s method of contacting Plaintiff is indicative of its ability to dial
numbers without any human intervention, which the FCC has opined is the hallmark of an
automatic telephone dialing system. See In the Matler of Rules & Regulations lmplememing the
Telephone Consumer Protection AcI of 2008, 23 F.C.C.R. 559, 565-66 (2008),' see also ]n the
Matter of Rules & Regulations lmplementing the Telephone Consumer Prolec!ion Acl of 1991,
18 F.C.C.R. 14014, 1409]-92 (2003).

12. During the relevant time period, Plaintiff informed the agents/representatives of
Defendant, on several occasions, that they were calling his cellular phone and demanded that
Defendant cease placing calls to his cellular telephone number. Plaintiff verbally revoked
consent over the phone on October 3, 2014, Which has been confirmed by Defendant’s
Customer Service supervisor.

13. During the aforementioned communications, Plaintiff unequivocally revoked any
express consent Defendant may have had for the placement of telephone calls to Plaintist
cellular telephone number by the use of an automatic telephone dialing system or a pre-recorded
or artificial voice.

]4. Each and every call subsequent to the first revocation that Defendant made to the
Plaintiff`s cellular telephone number was done so without the express consent of the Plaintiff.

15. Each and every call subsequent to the first revocation that Defendant made to the

Plaintiff’s cellular telephone number was knowing and willful.

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16. Despite actual knowledge of their wrongdoing, Defendant continued the
campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent
Defendant may have had to call his cellular telephone number.

l7. Plaintiff’ s damages were caused by and directly related to Defendant’s attempts
to collect a debt by using an automatic telephone dialing system or predictive dialer to call
Plaintiff’s cellular telephone

18. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon
their right of seclusion.

19. From each and every call without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of their cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers
or outgoing calls while the phone was ringing from Defendant’s call.

20. From each and every call placed without express consent by Defendant to
Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of their time.

21. Specifically, Plaintiff had to waste his time dealing with missed call notifications
and call logs that reflect the unwanted calls. This also impaired the usefulness of these features
of Plaintiffs cellular phone, which are designed to inform the user of important missed
communications

22. Each and every call placed without express consent by Defendant to Plaintist
cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go to the unnecessary trouble of answering them. For

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unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected
the unwanted calls.

23. Each and every call placed without express consent by Defendant to Plaintiff’s
cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery
power.

24. Each and every call placed without express consent by Defendant to Plaintiff’s
cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely their cellular phone
and his cellular phone services.

25. Defendant’s corporate policy is structured so as to continue to call individuals
like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

26. Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s
number removed from Defendant’s call list.

27. Defendant has numerous complaints against it across the country asserting that
its automatic telephone dialing system continues to call despite being requested to stop.

28. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(l)(a).

29. Defendant willfully or knowingly violated the TCPA.

COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

30. Plaintiff incorporates Paragraphs l through 29 herein.
3 l. Defendant repeatedly placed non-emergency telephone calls to Plaintiffs
cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiffs express consent in violation of 47 U.S.C § 227(b)(l)(A)(iii).

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32. Defendant knowingly or willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto~dialer calls made to Plaintiff’s cellular telephone after Plaintiff
notified Defendant that Plaintiff did not wish to receive any telephone communication from
Defendant and demanded for the calls to stop.

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and
against Defendant for $500.00 dollars in statutory damages for each violation of the TCPA over
the last four years, $1,500.00 dollars in statutory damages for each knowing or willful violation
of the TCPA over the last four years, a declaration that Defendant’s calls violate the TCPA, a
permanent injunction prohibiting Defendant from placing non-emergency calls to the cellular
telephone of Plaintiff using an automatic telephone dialing system or pre-recorded or artificial
voice, litigation expenses and costs of the instant lawsuit; and such further relief as this Court
may deem appropriate More specifically, Plaintiff requests that the Court enter judgment in
favor of Plaintiff and against Defendant for $6,000 in statutory damages

JURY DEMAND
Plaintiff demands trial by jury.

Respectfully submitted,

By:/s/ Kevin Rag`abalee
Kevin Raj abalee

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